Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 1 of 11




            EXHIBIT H
       Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 2 of 11



 From: "rafferty" <rafferty@163.com>
 Date: July 15, 2016 at 15:47:47 GMT+2
 To: "Stano" <sbarica@zelsd.rs>
 Subject: Fw:转发: RE: Odg: 回复: Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment
 agreements

 Stano,



 Please see the wording in Red.



 We may need to discuss with the subcontractor and see if they can complete it earlier.



 Regards,

 Rafferty




-------- Forwarding messages --------
From: "13933316012" <13933316012@126.com>
Date: 2016-07-15 21:16:26
To: "Natasa hr" <NTijanic@zelsd.rs>
Cc: rafferty <rafferty@163.com>
Subject: 转发: RE: Odg: 回复: Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment
agreements
Dear Natasa,
Kindly find here below the email from ministry of economy in which it indicates the finance for
repairing the bridge& mixer.

Regards,
Grace

2016-07-15

13933316012

发件人："Zeljko Sertic" <zeljko.sertic@privreda.gov.rs>
发送时间：2016-06-24 15:57
主题：RE: Odg: 回复: Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment
agreements
收件人："'13933316012'"<13933316012@126.com>
抄送："'Ivica
Kojic'"<ivica.kojic@gov.rs>,"'Boris'"<bmilosevic@kpmg.com>,"'liguiyang'"<liguiyang@hb
isco.com>,"'wanglanyu'"<wanglanyu@tsgg.com>,"'vladimir.petrovic'"<vladimir.petrovic




                                                 1
            Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 3 of 11



     @privreda.gov.rs>,"'Milun
     Trivunac'"<milun.trivunac@privreda.gov.rs>,"'yang'"<yangguiqing@hbisco.com>


       Mr Song

       I am repeating for the 10th time that I have never promised that we will “finance repairs”. I am
       again repeating that I said “we will look into your request”. I hope that your translator/secretary is
       translating these words properly to you.

       Regarding the below Article 4.5 of the Investment Agreement “Outstanding Matters under ASPA”,
       please note that the below provision relates to the situation when steel mill’s operations are
       suspended. The hot blast stove general repair does not fall under this definition. Blast furnace
       operations are NOT suspended and both blast furnaces are working. Yes, the hot blast stoves on
       Blast Furnace no. 2 need to be repaired but the blast furnace no. 2 is working and is producing up
       to 3,000 tons of hot metal per day even in such situation. Hence, the operations of Blast Furnace
       no. 2 are NOT suspended despite of the operational issues with hot stoves.

       Similar is true for vast majority of the equipment that you have listed. Vast majority are general
       repairs for equipment which works or relate to parts of equipment which is NOT “key production
       equipment” imperative for the production. Attached is the excel with our comments. As you will
       see:

1.   we are already financing the new bridge for conveyers in the sintering plan (will be completed by
     end of August).

2.    the only other equipment that suits the definition of the “key production asset whose operation is
     suspended” is the mixer in the steel plant. We will of course finance this repair as agreed in the
     Investment Agreement

3.   all other items are either not “key production equipment” or they are operational

       If you insist, we can discuss this further on our meeting today at 5pm, but I would more like to
       focus our today’s meeting on other questions important for Closing and appropriate takeover of
       operations.

       Regards



     Željko Sertić
     Minister of Economy




     Ministarstvo privrede
     Ministry of Economy
     Kneza Miloša 20, 11000 Beograd
     Republika Srbija



                                                        2
        Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 4 of 11



Tel: +381 11 3642702, 3642 615
Fax: +381 11 3642705
Email: zeljko.sertic@privreda.gov.rs




From: 13933316012 [mailto:13933316012@126.com]
Sent: Friday, June 24, 2016 12:22 PM
To: Zeljko Sertic <zeljko.sertic@privreda.gov.rs>
Cc: Ivica Kojic <ivica.kojic@gov.rs>; Boris <bmilosevic@kpmg.com>; liguiyang
<liguiyang@hbisco.com>; wanglanyu <wanglanyu@tsgg.com>; vladimir.petrovic
<vladimir.petrovic@privreda.gov.rs>; Milun Trivunac <milun.trivunac@privreda.gov.rs>; yang
<yangguiqing@hbisco.com>
Subject: 回复: Odg: 回复: Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment agreements




Dear Mr.Sertic,


Kindly note we dont mean any offense or insinuation to you. On the contrary,we respect
you and always hope we can have good cooperation with each other.
And it was yourself who said "finance "them on the meeting of Thursday, 2nd June 2016
at 9am when we put up with key equipments matainese list.


From IA we could see not only the BF but also other key equipments are not allowed to
suspend.Herebelow is the clause for your reference:


7.5 In the event that the Closing occurs, and either of the two blast furnaces are on full
stop and/or other key production equipment or facilities are suspended for operation, as
a result of which, the New Company incurred any cost and/or expenses for the restart
or reoperation of such blast furnace and/or such key production equipment or facilities,
the New Company has the right to deduct such costs and/or expenses (including
reasonable accrued interest) directly from the Sale Price to be paid by the New
Company when the First Transfer or the Second Transfer is made. In case the New
Company cannot deduct such costs and/or expenses directly from the Sale Price, the
RoS shall indemnify or reimburse HBIS such costs and/or expenses.


Regards,
Grace


2016-06-24

13933316012


发件人：Zeljko Sertic <zeljko.sertic@privreda.gov.rs>
发送时间：2016-06-24 09:22




                                             3
     Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 5 of 11



主题：Odg: 回复: Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment
agreements
收件人："13933316012"<13933316012@126.com>
抄送："Ivica
Kojic"<ivica.kojic@gov.rs>,"Boris"<bmilosevic@kpmg.com>,"liguiyang"<liguiyang@hbisc
o.com>,"wanglanyu"<wanglanyu@tsgg.com>,"vladimir.petrovic"<vladimir.petrovic@priv
reda.gov.rs>,"Milun
Trivunac"<milun.trivunac@privreda.gov.rs>,"yang"<yangguiqing@hbisco.com>



 Mr Song

 Your comments and insinuations are highly offensive!!

 Who has promised to you that the Government will finance the
 repair of key equipment and on which meeting? Please be
 specific! There were 15 people on the only meeting where this was
 briefly discussed on 2nd June. I have personally told you that we will
 “look into your request” (which in our culture does NOT mean that
 any obligation to do something was given) and at that moment we
 did not even have the excel schedule of equipment that you are
 asking. For all we know, you could ask us to build entirely new blast
 furnace!

 You claim that repair of equipment is the obligation of the
 Government. Where is this written in the Asset Sales and Purchase
 Agreement (ASPA)? Give us a specific article in the ASPA that
 relates to this. What is the purpose of Hesteel’s planned
 investments if the Government will finance repair of equipment?

 Mr Song, if you were more in contact with me as the Minister and
 the Working Team of the Government of Serbia and not with Mr
 Kamaras who has his private agenda, this question would have been
 addressed much faster and all sides would have full
 understanding. But you Mr Song are refusing a meeting with the
 Minister in the Government of Serbia and you are refusing to
 respond to our questions timely and fully.

 Regards



                                        4
        Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 6 of 11




Poslato sa mog Samsung uređaja



-------- Originalna poruka --------
Od: 13933316012 <13933316012@126.com>
Datum: 24.6.16. 00.15 (GMT+01:00)
U: Zeljko Sertic <zeljko.sertic@privreda.gov.rs>
Cc: Ivica Kojic <ivica.kojic@gov.rs>, Boris <bmilosevic@kpmg.com>, liguiyang
<liguiyang@hbisco.com>, wanglanyu <wanglanyu@tsgg.com>, "vladimir.petrovic"
<vladimir.petrovic@privreda.gov.rs>, Milun Trivunac <milun.trivunac@privreda.gov.rs>,
yang <yangguiqing@hbisco.com>
Naslov: 回复: Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment agreements

Dear Mr Sertic.
Kindly find attached labor rule book as you mentioned as "Labor Work Manual" .
For maitanese list we believe that as a minister and gentleman you will not eat your words on the
meeting before when you said you would finance it and there is no problem about these
equipments.

Grace

2016-06-24

13933316012

发件人：Zeljko Sertic <zeljko.sertic@privreda.gov.rs>
发送时间：2016-06-22 00:22
主题：Odg: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment agreements
收件人："sihaisong"<sihaisong@sohu.com>
抄送："Ivica
Kojic"<ivica.kojic@gov.rs>,"Boris"<bmilosevic@kpmg.com>,"liguiyang"<liguiyang@hbisc
o.com>,"wanglanyu"<wanglanyu@tsgg.com>,"vladimir.petrovic"<vladimir.petrovic@priv
reda.gov.rs>,"Milun
Trivunac"<milun.trivunac@privreda.gov.rs>,"yang"<yangguiqing@hbisco.com>,"139333
16012"<13933316012@126.com>

Mr Song

 The Labour Work Manual (or the Labour Rule Book, it is the same
 name) is the document that individual employment contract refers
 to throughout the text. This is a document that regulates rights and
 obligations of the Employer (Hesteel Serbian) and rights and
 obligations of an employee. Please see two examples of labour
 contracts that you sent to us where the Labour Rule Book is
 referred to on several places.



                                                5
      Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 7 of 11




 Let me again remind everyone that signing of labour contracts until
 15th June with all employees is a clear commitment given to us by
 Mr Li in his e-mail on 6th June as well as by Mr Song to our Prime
 Minister of the meeting held on 9th June and witnessed by the
 Ambassador of the People’s Republic of China.

 Today is 21st June and we still do not have all employment contracts
 signed.

 On key equipment repair list: this has never been a part of any
 negotiations in Hesteel and is not any kind of commitment or
 obligation of the Government or Zelezara according to the signed
 agreements with Hesteel. The only obligation of Zelezara is to
 prevent blast furnaces from being on full stopped of the Closing or
 from material adverse change in property and equipment between
 Signing and the Closing dates. We have in good faith agreed to
 consider you request, but we never promised to anyone that we will
 finance this. This request for financing repairs of equipment is
 effectively renegotiations of the entire signed agreement from
 commercial perspective although need for repairs was noticed by
 Hesteel during due diligences and site visits and is not any kind of
 new information that appeared after the agreement have been
 signed in April.

 I am reiterating the we expect to receive clear and concrete
 answers to the questions we are repetitively asking in the last
 several days, and not to be answered back with some other
 questions. We consider this to be inappropriate way of
 communication.

 Best regards


Poslato sa mog Samsung uređaja



-------- Originalna poruka --------
Od: 13933316012 <13933316012@126.com>
Datum: 21.6.16. 22.04 (GMT+01:00)




                                    6
      Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 8 of 11



U: Zeljko Sertic <zeljko.sertic@privreda.gov.rs>
Cc: Ivica Kojic <ivica.kojic@gov.rs>, Boris <bmilosevic@kpmg.com>, liguiyang
<liguiyang@hbisco.com>, wanglanyu <wanglanyu@tsgg.com>, sihaisong
<sihaisong@sohu.com>, yangguiging <yangguiging@hbisco.com>, "vladimir.petrovic"
<vladimir.petrovic@privreda.gov.rs>, Milun Trivunac <milun.trivunac@privreda.gov.rs>
Naslov: 回复: Odg: RE: 回复：RE: Hesteel Serbia | Employment agreements

Dear Mr. Sertic,
Could you pls clarity what is " Labor Work Manual ".
And kindly advise about the key equipment maitanese list ,have you already financed to
repair them as you promised ?

Regards,
Grace

2016-06-21

13933316012

发件人：Zeljko Sertic <zeljko.sertic@privreda.gov.rs>
发送时间：2016-06-21 21:04
主题：Odg: RE: 回复：RE: Hesteel Serbia | Employment agreements
收件人："sihaisong"<sihaisong@sohu.com>
抄送：
"liguiyang"<liguiyang@hbisco.com>,"wanglanyu"<wanglanyu@tsgg.com>,"yangguiging"
<yangguiging@hbisco.com>,"vladimir.petrovic"<vladimir.petrovic@privreda.gov.rs>,"Mil
un Trivunac"<milun.trivunac@privreda.gov.rs>,"Ivica
Kojic"<ivica.kojic@gov.rs>,"Boris"<bmilosevic@kpmg.com>,"白景雪
"<bxiaobai88@126.com>




 Dear Mr Song


 As will still have not received a Labor Work Manual from you
 despite several reminders, I insist that this document is sent to us
 tomorrow morning at latest.


 In addition, please provide to us a definite and exact date when all
 employment contracts will be provided for signing to ALL
 EMPLOYEES!!!

 Zeljko Sertic, minister



                                           7
         Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 9 of 11




Poslato sa mog Samsung uređaja



-------- Originalna poruka --------
Od: "Milosevic, Boris" <bmilosevic@kpmg.com>
Datum: 20.6.16. 15.59 (GMT+01:00)
U: 白景雪 <bxiaobai88@126.com>
Cc: liguiyang <liguiyang@hbisco.com>, wanglanyu <wanglanyu@tsgg.com>,
yangguiging <yangguiging@hbisco.com>, "vladimir.petrovic"
<vladimir.petrovic@privreda.gov.rs>, Milun Trivunac <milun.trivunac@privreda.gov.rs>,
Ivica Kojic <ivica.kojic@gov.rs>, Zeljko Sertic <zeljko.sertic@privreda.gov.rs>,
sihaisong <sihaisong@sohu.com>
Naslov: RE: 回复：RE: Hesteel Serbia | Employment agreements

 Dear Grace



 Thank you for this. We expect this information.



 Also, as promised on Friday’s meeting by Mr Song, we also expect that Hesteel sends us formally
 the Labor Work Manual. Can we please get a copy of this document?



 Best regards

 Boris




 From: 白景雪 [mailto:bxiaobai88@126.com]
 Sent: Monday, June 20, 2016 3:58 PM
 To: Milosevic, Boris <bmilosevic@kpmg.com>
 Cc: liguiyang <liguiyang@hbisco.com>; wanglanyu <wanglanyu@tsgg.com>; yangguiging
 <yangguiging@hbisco.com>; vladimir.petrovic <vladimir.petrovic@privreda.gov.rs>; Milun Trivunac
 <milun.trivunac@privreda.gov.rs>; Ivica Kojic <ivica.kojic@gov.rs>; Zeljko Sertic
 <zeljko.sertic@privreda.gov.rs>; sihaisong <sihaisong@sohu.com>
 Subject: 回复：RE: Hesteel Serbia | Employment agreements



 Dear Boris,

 Will check and revert to you.




                                                   8
    Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 10 of 11



Regards,

Grace




发自 网易邮箱大师

在2016年06月20日 10:06，Milosevic, Boris 写道:

Dear Ms Grace



Can you please let us know how many employees have signed the employment contracts by this
morning?



Best regards

Boris




From:                                         Milosevic,                                      Boris
Sent:           Friday,            June           17,             2016          7:47            PM
To:                            '13933316012'                             <13933316012@126.com>
Cc: bxiaobai88 <bxiaobai88@126.com>; liguiyang <liguiyang@hbisco.com>; wanglanyu
<wanglanyu@tsgg.com>;           yangguiging      <yangguiging@hbisco.com>;        vladimir.petrovic
<vladimir.petrovic@privreda.gov.rs>; Milun Trivunac <milun.trivunac@privreda.gov.rs>; Ivica Kojic
<ivica.kojic@gov.rs>;       Zeljko      Sertic      <zeljko.sertic@privreda.gov.rs>;     sihaisong
<sihaisong@sohu.com>
Subject: RE: Hesteel Serbia | Employment agreements



Dear Ms Grace



On behalf of the Minister Sertic, we thank you for this information. Please keep us posted and we
kindly ask that you send us the latest update tomorrow morning (third shift may be also signing
contracts tonight).



Best regards




                                               9
    Case 1:18-cv-01773-RDM Document 3-8 Filed 07/31/18 Page 11 of 11



Boris




From:                         13933316012                         [mailto:13933316012@126.com]
Sent:           Friday,            June         17,             2016           8:44            PM
To:                   Milosevic,                 Boris                   <bmilosevic@kpmg.com>
Cc: bxiaobai88 <bxiaobai88@126.com>; liguiyang <liguiyang@hbisco.com>; wanglanyu
<wanglanyu@tsgg.com>;           yangguiging    <yangguiging@hbisco.com>;         vladimir.petrovic
<vladimir.petrovic@privreda.gov.rs>; Milun Trivunac <milun.trivunac@privreda.gov.rs>; Ivica Kojic
<ivica.kojic@gov.rs>;       Zeljko      Sertic    <zeljko.sertic@privreda.gov.rs>;      sihaisong
<sihaisong@sohu.com>
Subject: Re: Hesteel Serbia | Employment agreements




Dear Boris,


Kindly note we are working on it ,now total signed at this moment is: 3082 out of 5001 for 24
hours                (signing              started              yesterday               morning).
Printing of the contracts is completed too. and we expect to finish until Tuesday end of work.




Regards,

Grace




2016-06-17




13933316012




发件人："Milosevic, Boris" <bmilosevic@kpmg.com>


发送时间：2016-06-17 16:17


主题：




                                              10
